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NOT FOR PUBLICATION


                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY



  RICARDO SANTIAGO, VAUGHN
  FREDERICK, on their own behalf and on
  behalf of those similarly situated,                    Civil Action No: 20-18581(SDW)(LDW)

                        Plaintiffs,                      ORDER

  v.

  TOTAL LIFE CHANGES LLC and “JOHN                       July 7, 2022
  DOES 1-5”, fictitious name used to identify
  presently unknown entities,

                        Defendants.



 WIGENTON, District Judge.

        This matter, having come before this Court on Defendant Total Life Changes, LLC’s

 (“Defendant”) Partial Motion to Dismiss certain counts of Plaintiffs Ricardo Santiago (“Santiago”)

 and Vaughn Frederick’s (“Frederick”) Second Amended Complaint (“SAC”), (D.E. 42), pursuant

 to Federal Rules of Civil Procedure (“Rule”) 12(b)(1) and (6) and 9, and Motion to Strike the class

 allegations from the SAC, pursuant to Rules 12(f) and 23, and this Court having considered the

 parties’ submissions, for the reasons stated in this Court’s Opinion dated July 7, 2022,

        IT IS on this 7th day of July, 2022

        ORDERED that Defendant’s Partial Motion to Dismiss certain counts of the SAC and

 Motion to Strike the class allegations, (D.E. 44), is GRANTED in part and DENIED in part as

 follows:


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          1) Defendant’s motion is GRANTED with prejudice on all Counts as to Santiago;

          2) Defendant’s motion is GRANTED with prejudice on Counts Three and Four as

             to Frederick;

          3) Frederick’s MMWA claim, (Count One), and breach of express warranty claim,

             (Count Two), may proceed; and

          4) Defendant’s Motion to Strike the class allegations is DENIED.


        SO ORDERED.

                                                 ___/s/ Susan D. Wigenton_____
                                                 SUSAN D. WIGENTON, U.S.D.J.


Orig:        Clerk
             Leda D. Wettre, U.S.M.J.
             Parties




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